                                             Case 2:19-cv-00239-GMS Document 22 Filed 08/12/19 Page 1 of 2



                                       1   Gregory B. Collins (#023158)
                                           Zach R. Fort (#031643)
                                       2
                                           KERCSMAR & FELTUS PLLC
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                                           gbc@kflawaz.com
                                       6   zrf@kflawaz.com
                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                        IN THE UNITED STATES DISTRICT COURT
                                      10                              FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                                 Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                         Plaintiff,                  NOTICE OF INTENT TO SERVE
                                                                                             SUBPOENA DUCES TECUM
           (480) 421-1001




                                      14
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                         Defendants.
                                      18
                                      19            Pursuant to Fed. R. Civ. P. 45(a)(4), Plaintiff Ronald H. Pratte gives notice of his
                                      20   intent to serve a Subpoena Duces Tecum on the following: Rader Law Firm, c/o Diana I.
                                      21   Rader.
                                      22            A copy of the subpoena has been provided to Defendants’ counsel via U.S. Mail
                                      23   and email.
                                      24
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                                              Case 2:19-cv-00239-GMS Document 22 Filed 08/12/19 Page 2 of 2



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                                       2          DATED this 12th day of August, 2019

                                       3
                                                                               KERCSMAR & FELTUS PLLC
                                       4
                                       5                                  By: s/ Zach Fort
                                                                              Gregory B. Collins
                                       6
                                                                              Zach R. Fort
                                       7                                      7150 East Camelback Road, Suite 285
                                                                              Scottsdale, Arizona 85251
                                       8                                      Attorneys for Plaintiff
                                       9
                                      10                          CERTIFICATE OF SERVICE
                                      11        I certify that on August 12, 2019, I electronically transmitted the foregoing to the
                                           Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
7150 East Camelback Road, Suite 285




                                      12
                                           Electronic Filing to the following:
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                      14   Thomas M. Connelly
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                                      23   Attorneys for Defendants
                                      24
                                      25   s/ Mary Ann Bautista
                                      26
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                                      28

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